                                            Case 15-24430                     Doc 1           Filed 10/16/15                      Page 1 of 28
B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                     DISTRICT OF MARYLAND                                                                                        Voluntary Petition
                                                       GREENBELT DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Solena Fuels Corporation

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     XX-XXXXXXX                                                                 than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
9210 Corporate Blvd
Suite 150
Rockville, MD                                                             ZIP CODE                                                                                         ZIP CODE
                                                                            20850
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
MONTGOMERY
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-            50,001-        Over
                                                         5,000            10,000           25,000               50,000             100,000        100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001       $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million    to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001       $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million    to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.12.1, ID 3852251944)
                                          Case 15-24430                    Doc 1        Filed 10/16/15                Page 2 of 28
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Solena Fuels Corporation
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X
                                                                                                                                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                          Case 15-24430                     Doc 1         Filed 10/16/15                Page 3 of 28
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Solena Fuels Corporation
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)


     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Steven H. Greenfeld                                                               defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Steven H. Greenfeld                              Bar No. 06744                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Cohen, Baldinger & Greenfeld, LLC
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 2600 Tower Oaks Blvd.                                                                       given the debtor notice of the maximum amount before preparing any document
 Suite 103                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Rockville, MD 20852                                                                         section. Official Form 19 is attached.


          (301) 881-8300
 Phone No.______________________        (301) 881-8350
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/16/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
 Solena Fuels Corporation
                                                                                                 Date
 X    /s/ Brian C. Miloski                                                                   Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
      Brian C. Miloski
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.

     President
     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.
     10/16/2015
                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                                  Case 15-24430             Doc 1      Filed 10/16/15            Page 4 of 28
   B4 (Official Form 4) (12/07)             UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
   IN RE:    Solena Fuels Corporation                                                          Case No.

                                                                                               Chapter        7

                       LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed. R.
Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1) persons who come within the definition
of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the creditors holding the 20
largest unsecured claims, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                 (1)                              (2)                                 (3)                            (4)                 (5)
                                  Name, telephone number and                                                  Indicate if
                                  complete mailing address,                                                   claim is
                                  including zip code, of                                                      contingent,
                                  employee, agent, or                                                         unliquidated,
 Name of creditor and complete    department of creditor familiar                                             disputed, or    Amount of claim [if
 mailing address, including zip   with claim who may be             Nature of claim (trade debt, bank loan,   subject to      secured also state
 code                             contacted                         goverment contract, etc.)                 setoff          value of security]

SGNA, LLC                                                           Business Debt                                                        $1,001,997.32
c/o Hawkes Financial LLC
Attn. Aryeh Davis                                                                                                                         Value: $0.00
77 Bedford Road
Katonah, NY 10536


EC Harris                                                           Business Debt                                                         $942,061.47
ECHQ, 34 York Way
London NI 9AB
United Kingdom



ALQIMI GE&F Holdings, LLC                                           Business Debt                                                         $397,771.30
c/o ALQIMI Group
Attn. Joseph Carlin                                                                                                                       Value: $0.00
9210 Corporate Blvd. Ste. 150
Rockville, MD 20850


Norton Rose Fulbright LLC                                           Business Debt                                                         $341,431.00
3 More London Riverside
London SE1 2AQ
UNITED KINGDOM



Esler & Cmpany Limited                                              Business Debt                                                         $249,750.00
c/o Lonsin Capital
15 Bolton Street                                                                                                                          Value: $0.00
London W1J 8BG
United Kingdom


Fluor Enterprises Inc.                                              Business Debt                                                         $218,506.10
3 Polaris Way
Aliso Viejo, CA 92698
                                  Case 15-24430             Doc 1       Filed 10/16/15            Page 5 of 28
  B4 (Official Form 4) (12/07)              UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
  IN RE:     Solena Fuels Corporation                                                           Case No.

                                                                                                Chapter        7

                      LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                             Continuation Sheet No. 1

                (1)                               (2)                                   (3)                           (4)                 (5)
                                  Name, telephone number and                                                   Indicate if
                                  complete mailing address,                                                    claim is
                                  including zip code, of                                                       contingent,
                                  employee, agent, or                                                          unliquidated,
 Name of creditor and complete    department of creditor familiar                                              disputed, or    Amount of claim [if
 mailing address, including zip   with claim who may be              Nature of claim (trade debt, bank loan,   subject to      secured also state
 code                             contacted                          goverment contract, etc.)                 setoff          value of security]

Seyforth Shaw LLP                                                    Business Debt                                                         $175,187.68
975 F Street NW
Washingtlon, DC 20004




British Airways PLC                                                  Business Debt                                                         $152,000.00
Waterside PO Box 365
Harmondsworth,UB7 0GB
United Kingdom



Barclays Capital PLC                                                 Business Debt                                                         $152,000.00
5 The North Colonnade
Canary Wharf
London, E14 4BB
United Kingdom


Carlisle Investments Inc.                                            Business Debt                                                         $149,850.00
c/o Lonsin Capital
15 Bolton Street                                                                                                                           Value: $0.00
London W1J 8BG
United Kingdom


Crystal Vision Energy Limited                                        Business Debt                                                         $146,144.23
Unit 3201, 52F
148 Electric Road
HONG KONG



GA Development LLC                                                   Business Debt                                                         $136,863.00
Attn. Avi Hoffer
8230 Ritchie Highway                                                                                                                       Value: $0.00
Pasadena, MD 21122



Floor Mill Georgetown LLC                                            Business Debt                                                         $105,401.35
1000 Potomac Street, NW
Washington, DC 20007
                                  Case 15-24430             Doc 1       Filed 10/16/15            Page 6 of 28
  B4 (Official Form 4) (12/07)              UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
  IN RE:    Solena Fuels Corporation                                                            Case No.

                                                                                                Chapter        7

                      LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                             Continuation Sheet No. 2

                (1)                               (2)                                   (3)                           (4)                 (5)
                                  Name, telephone number and                                                   Indicate if
                                  complete mailing address,                                                    claim is
                                  including zip code, of                                                       contingent,
                                  employee, agent, or                                                          unliquidated,
 Name of creditor and complete    department of creditor familiar                                              disputed, or    Amount of claim [if
 mailing address, including zip   with claim who may be              Nature of claim (trade debt, bank loan,   subject to      secured also state
 code                             contacted                          goverment contract, etc.)                 setoff          value of security]

Greenfuel Technology, LLC                                            Business Debt                                                              $92,507.40
c/o GTS Group
Attn. Richard Wenzel                                                                                                                       Value: $0.00
23020 Eaglewood Court, Ste.
400
Sterling, VA 20166

SFI Investors LLC                                                    Business Debt                                                              $60,814.66
Attn. Robert Do
10600 Red Barn Lane                                                                                                                        Value: $0.00
Potomac, MD 20850



Samer & Co. Shipping, S.P. A.                                        Business Debt                                                              $49,950.00
Piazza dell'Unuta D'Italia, 7
Attn, Erico Samer                                                                                                                          Value: $0.00
34121 Trieste, Italy



FTI Consulting, Inc.                                                 Business Debt                                                              $45,000.00
Attn. Matthew Bacsardi
2 Hamill Road, North Building
Baltimore, MD 21210



AECOM Limited                                                        Business Debt                                                              $44,208.29
AECOM House
63-77 Victoria Street
St. Albans Herts AL1 3ER
United Kingdom


DLA Piper                                                            Business Debt                                                              $40,250.28
6225 Smith Avenue
Baltimore, MD 21209-3600




Fluor Limited                                                        Business Debt                                                              $38,310.06
140 Pinehurst Road
Farnborough GU14 7BF
United Kingdom
                                  Case 15-24430           Doc 1       Filed 10/16/15          Page 7 of 28
   B4 (Official Form 4) (12/07)            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MARYLAND
                                                  GREENBELT DIVISION
   IN RE:    Solena Fuels Corporation                                                        Case No.

                                                                                             Chapter     7

                     LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                           Continuation Sheet No. 3


                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                         President                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       10/16/2015
Date:__________________________________                            /s/ Brian C. Miloski
                                                        Signature:________________________________________________________
                                                                   Brian C. Miloski
                                                                   President
                                Case 15-24430             Doc 1   Filed 10/16/15        Page 8 of 28
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MARYLAND
                                                    GREENBELT DIVISION
   In re Solena Fuels Corporation                                                    Case No.

                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                No       1                       $0.00


 B - Personal Property                            No       5                 $35,344.34


 C - Property Claimed                             No
     as Exempt
 D - Creditors Holding                            Yes      3                                       $2,170,472.68
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                           $3,396.54
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      7                                       $2,642,509.33
     Nonpriority Claims
 G - Executory Contracts and                      No       1
    Unexpired Leases

 H - Codebtors                                    No       1


 I - Current Income of                            No                                                                               N/A
     Individual Debtor(s)

 J - Current Expenditures of                      No                                                                               N/A
    Individual Debtor(s)

                                             TOTAL         20                $35,344.34            $4,816,378.55
                               Case 15-24430                 Doc 1          Filed 10/16/15        Page 9 of 28
B6D (Official Form 6D) (12/07)
          In re Solena Fuels Corporation                                                        Case No.
                                                                                                                              (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

         CREDITOR'S NAME AND                                           DATE CLAIM WAS                                   AMOUNT OF          UNSECURED




                                                                                                         UNLIQUIDATED
           MAILING ADDRESS                                           INCURRED, NATURE                                     CLAIM            PORTION, IF




                                                                                                          CONTINGENT
                                               CODEBTOR




                                                                                                           DISPUTED
       INCLUDING ZIP CODE AND                                           OF LIEN, AND                                     WITHOUT              ANY
         AN ACCOUNT NUMBER                                            DESCRIPTION AND                                   DEDUCTING
         (See Instructions Above.)                                        VALUE OF                                       VALUE OF
                                                                     PROPERTY SUBJECT                                   COLLATERAL
                                                                           TO LIEN
                                                          DATE INCURRED:
ACCT #:                                                   NATURE OF LIEN:
                                                          Business Debt
ALQIMI GE&F Holdings, LLC                                 COLLATERAL:
                                                          business                                                        $397,771.30        $397,771.30
c/o ALQIMI Group                                          REMARKS:
Attn. Joseph Carlin
9210 Corporate Blvd. Ste. 150
Rockville, MD 20850

                                                          VALUE:                                 $0.00
                                                          DATE INCURRED:
ACCT #:                                                   NATURE OF LIEN:
                                                          Business Debt
Carlisle Investments Inc.                                 COLLATERAL:
                                                          Business                                                        $149,850.00        $149,850.00
c/o Lonsin Capital                                        REMARKS:
15 Bolton Street
London W1J 8BG
United Kingdom

                                                          VALUE:                                 $0.00
                                                          DATE INCURRED:
ACCT #:                                                   NATURE OF LIEN:
                                                          Business Debt
Esler & Cmpany Limited                                    COLLATERAL:
                                                          Business                                                        $249,750.00        $249,750.00
c/o Lonsin Capital                                        REMARKS:
15 Bolton Street
London W1J 8BG
United Kingdom

                                                          VALUE:                                 $0.00
                                                          DATE INCURRED:
ACCT #:                                                   NATURE OF LIEN:
                                                          Business Debt
GA Development LLC                                        COLLATERAL:
                                                          Business                                                        $136,863.00        $136,863.00
Attn. Avi Hoffer                                          REMARKS:
8230 Ritchie Highway
Pasadena, MD 21122


                                                          VALUE:                                 $0.00
                                                                                Subtotal (Total of this Page) >            $934,234.30         $934,234.30
                                                                               Total (Use only on last page) >
________________continuation
       2                     sheets attached                                                                            (Report also on    (If applicable,
                                                                                                                        Summary of         report also on
                                                                                                                        Schedules.)        Statistical
                                                                                                                                           Summary of
                                                                                                                                           Certain Liabilities
                                                                                                                                           and Related
                                                                                                                                           Data.)
                                Case 15-24430                 Doc 1           Filed 10/16/15       Page 10 of 28
B6D (Official Form 6D) (12/07) - Cont.
          In re Solena Fuels Corporation                                                          Case No.
                                                                                                                                (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


          CREDITOR'S NAME AND                                            DATE CLAIM WAS                                   AMOUNT OF          UNSECURED




                                                                                                           UNLIQUIDATED
            MAILING ADDRESS                                            INCURRED, NATURE                                     CLAIM            PORTION, IF




                                                                                                            CONTINGENT
                                                 CODEBTOR




                                                                                                             DISPUTED
        INCLUDING ZIP CODE AND                                            OF LIEN, AND                                     WITHOUT              ANY
          AN ACCOUNT NUMBER                                             DESCRIPTION AND                                   DEDUCTING
          (See Instructions Above.)                                         VALUE OF                                       VALUE OF
                                                                       PROPERTY SUBJECT                                   COLLATERAL
                                                                             TO LIEN
                                                            DATE INCURRED:
ACCT #:                                                     NATURE OF LIEN:
                                                            Business Debt
Greenfuel Technology, LLC                                   COLLATERAL:
                                                            Business                                                         $92,507.40         $92,507.40
c/o GTS Group                                               REMARKS:
Attn. Richard Wenzel
23020 Eaglewood Court, Ste. 400
Sterling, VA 20166

                                                            VALUE:                                 $0.00
                                                            DATE INCURRED:
ACCT #:                                                     NATURE OF LIEN:
                                                            Business Debt
Samer & Co. Shipping, S.P. A.                               COLLATERAL:
                                                            Business                                                         $49,950.00         $49,950.00
Piazza dell'Unuta D'Italia, 7                               REMARKS:
Attn, Erico Samer
34121 Trieste, Italy


                                                            VALUE:                                 $0.00
                                                            DATE INCURRED:
ACCT #:                                                     NATURE OF LIEN:
                                                            Business Debt
SFI Investors LLC                                           COLLATERAL:
                                                            Business                                                         $60,814.66         $60,814.66
Attn. Robert Do                                             REMARKS:
10600 Red Barn Lane
Potomac, MD 20850


                                                            VALUE:                                 $0.00
                                                            DATE INCURRED:
ACCT #:                                                     NATURE OF LIEN:
                                                            Business Debt
SGNA, LLC                                                   COLLATERAL:
                                                            Business                                                      $1,001,997.32      $1,001,997.32
c/o Hawkes Financial LLC                                    REMARKS:
Attn. Aryeh Davis
77 Bedford Road
Katonah, NY 10536

                                                            VALUE:                                 $0.00
Sheet no. __________
               1       of __________
                                2     continuation sheets attached                Subtotal (Total of this Page) >           $1,205,269.38      $1,205,269.38
to Schedule of Creditors Holding Secured Claims                                  Total (Use only on last page) >
                                                                                                                          (Report also on    (If applicable,
                                                                                                                          Summary of         report also on
                                                                                                                          Schedules.)        Statistical
                                                                                                                                             Summary of
                                                                                                                                             Certain Liabilities
                                                                                                                                             and Related
                                                                                                                                             Data.)
                                Case 15-24430                 Doc 1           Filed 10/16/15       Page 11 of 28
B6D (Official Form 6D) (12/07) - Cont.
          In re Solena Fuels Corporation                                                          Case No.
                                                                                                                               (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


          CREDITOR'S NAME AND                                            DATE CLAIM WAS                                   AMOUNT OF         UNSECURED




                                                                                                           UNLIQUIDATED
            MAILING ADDRESS                                            INCURRED, NATURE                                     CLAIM           PORTION, IF




                                                                                                            CONTINGENT
                                                 CODEBTOR




                                                                                                             DISPUTED
        INCLUDING ZIP CODE AND                                            OF LIEN, AND                                     WITHOUT             ANY
          AN ACCOUNT NUMBER                                             DESCRIPTION AND                                   DEDUCTING
          (See Instructions Above.)                                         VALUE OF                                       VALUE OF
                                                                       PROPERTY SUBJECT                                   COLLATERAL
                                                                             TO LIEN
                                                            DATE INCURRED:
ACCT #:                                                     NATURE OF LIEN:
                                                            Business Debt
SIELTE, S.P.A.                                              COLLATERAL:
                                                            Business                                                         $30,969.00        $30,969.00
Via Valle di Perna, 1                                       REMARKS:
Attn. Alfio Turrisi
00128- Roma, Italia


                                                            VALUE:                                 $0.00




Sheet no. __________
               2       of __________
                                2     continuation sheets attached                Subtotal (Total of this Page) >             $30,969.00         $30,969.00
to Schedule of Creditors Holding Secured Claims                                  Total (Use only on last page) >            $2,170,472.68      $2,170,472.68
                                                                                                                          (Report also on   (If applicable,
                                                                                                                          Summary of        report also on
                                                                                                                          Schedules.)       Statistical
                                                                                                                                            Summary of
                                                                                                                                            Certain Liabilities
                                                                                                                                            and Related
                                                                                                                                            Data.)
                                 Case 15-24430               Doc 1        Filed 10/16/15            Page 12 of 28
B6E (Official Form 6E) (04/13)

In re Solena Fuels Corporation                                                                    Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                                 Case 15-24430                  Doc 1            Filed 10/16/15       Page 13 of 28
B6E (Official Form 6E) (04/13) - Cont.
In re Solena Fuels Corporation                                                                    Case No.
                                                                                                                          (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                                                              UNLIQUIDATED
                                                                                               CONTINGENT
                                              CODEBTOR
             CREDITOR'S NAME,                              DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                DISPUTED
              MAILING ADDRESS                               AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                     CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                          PRIORITY, IF
           (See instructions above.)                                                                                                      ANY


ACCT #:                                                  DATE INCURRED:
                                                         CONSIDERATION:
Office of Tax and Revenue                                Sales Taxes                                          Unknown         Unknown      Unknown
1101 4sth Street, SW                                     REMARKS:
Washington, DC 20044



ACCT #:                                                  DATE INCURRED:   2014
                                                         CONSIDERATION:
The Delaware Department of State                         Franchise Tax                                        $3,396.54       $3,396.54        $0.00
Division of Corporations                                 REMARKS:
PO Box 898
Dover, DE 19903




Sheet no. __________
               1       of __________
                               1       continuation sheets          Subtotals (Totals of this page) >         $3,396.54       $3,396.54        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >               $3,396.54
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                            $3,396.54        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                              Case 15-24430                    Doc 1       Filed 10/16/15         Page 14 of 28
B6F (Official Form 6F) (12/07)
  In re Solena Fuels Corporation                                                               Case No.
                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                CREDITOR'S NAME,                                                  DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                    INCURRED AND                                         CLAIM




                                                                                                                        CONTINGENT
                                                   CODEBTOR




                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                               CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                         CLAIM.
             (See instructions above.)                                        IF CLAIM IS SUBJECT TO
                                                                                 SETOFF, SO STATE.


ACCT #:                                                            DATE INCURRED:
                                                                   CONSIDERATION:
AECOM Limited                                                      Business Debt                                                         $44,208.29
AECOM House                                                        REMARKS:
                                                   X
63-77 Victoria Street
St. Albans Herts AL1 3ER
United Kingdom
ACCT #: xx-xxx6824                                                 DATE INCURRED:
                                                                   CONSIDERATION:
American Business Appraisers, LLP                                  Business Debt                                                           $562.50
3800 Blackhawk Road                                                REMARKS:
Suite 140
Danville, CA 94506

ACCT #:                                                            DATE INCURRED:
                                                                   CONSIDERATION:
Aryeh Davis                                                        Business Debt                                                          $1,081.02
Four Copperbeech Lane                                              REMARKS:
Lawrence, NY 11559                                                 Unreimbursed Expense/ Board Travel



ACCT #:                                                            DATE INCURRED:
                                                                   CONSIDERATION:
Barclays Capital PLC                                               Business Debt                                                        $152,000.00
5 The North Colonnade                                              REMARKS:
Canary Wharf
London, E14 4BB
United Kingdom
ACCT #: xxx6174                                                    DATE INCURRED:
                                                                   CONSIDERATION:
BDO                                                                Business Debt                                                         $22,700.00
8405 Greenboro Drive                                               REMARKS:
Suite 700
McLean, VA 22102

ACCT #:                                                            DATE INCURRED:   3/2015
                                                                   CONSIDERATION:
Blue Cross Blue Sheild                                             Business Debt                                                         $11,996.77
840 1st Street, NE                                                 REMARKS:
Washington, DC 20065



                                                                                                                   Subtotal >            $232,548.58

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       6                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 15 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Brian Miloski                                                          Business Debt                                                         $27,692.28
1964 Crescent Park Drive                                               REMARKS:
Reston, VA 20190



ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
British Airways PLC                                                    Business Debt                                                        $152,000.00
Waterside PO Box 365                                                   REMARKS:
Harmondsworth,UB7 0GB
United Kingdom

ACCT #:                                                                DATE INCURRED:   2013
                                                                       CONSIDERATION:
CC Solutions                                                           Business Debt                                                          $3,012.50
75 Grandview Blvd                                                      REMARKS:
Yonkers, NY 10710



ACCT #:                                                                DATE INCURRED:   2015
                                                                       CONSIDERATION:
Comcast Cable Communications                                           Business Debt                                                          $2,410.16
PO Box 3006                                                            REMARKS:
Southeastern, PA 19398-3006




 Representing:                                                         Credit Protection Association LP                                     Notice Only
 Comcast Cable Communications                                          13355 Noel Road
                                                                       Dallas, TX 75240



ACCT #: xxx7446                                                        DATE INCURRED:
                                                                       CONSIDERATION:
Corporation Service Company                                            Business Debt                                                           $796.00
2711 Centerville Road                                                  REMARKS:
Suite 400
Wilmington, DE 19808

Sheet no. __________
              1        of __________
                               6     continuation sheets attached to                                                   Subtotal >            $185,910.94
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 16 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #:                                                                DATE INCURRED:   2014
                                                                       CONSIDERATION:
CPA Global Limited                                                     Business Debt                                                         $16,758.00
Liberation House                                                       REMARKS:
Castle Street, St. Helier
Jersey JE1 1B2
United Kingdom
ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Crystal Vision Energy Limited                                          Business Debt                                                        $146,144.23
Unit 3201, 52F                                                         REMARKS:
                                                      X
148 Electric Road
HONG KONG

ACCT #:                                                                DATE INCURRED:   2015
                                                                       CONSIDERATION:
David Lyle                                                             Business Debt                                                          Unknown
15 Cleerebrook Place                                                   REMARKS:
The Woodlands, TX 77382



ACCT #:                                                                DATE INCURRED:   2013
                                                                       CONSIDERATION:
DLA Piper                                                              Business Debt                                                         $40,250.28
6225 Smith Avenue                                                      REMARKS:
Baltimore, MD 21209-3600



ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
EC Harris                                                              Business Debt                                                        $942,061.47
ECHQ, 34 York Way                                                      REMARKS:
                                                      X
London NI 9AB
United Kingdom

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Ecology Solutions Ltd                                                  Business Debt                                                         $29,689.87
Crossways House, The Square                                            REMARKS:
                                                      X
Stow on the Wold
Cheltenham GL54 1AB
United Kingdom
Sheet no. __________
              2        of __________
                               6     continuation sheets attached to                                                   Subtotal >           $1,174,903.85
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 17 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #:                                                                DATE INCURRED:   2015
                                                                       CONSIDERATION:
Floor Mill Georgetown LLC                                              Business Debt                                                        $105,401.35
1000 Potomac Street, NW                                                REMARKS:
Washington, DC 20007



ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Fluor Enterprises Inc.                                                 Business Debt                                                        $218,506.10
3 Polaris Way                                                          REMARKS:
Aliso Viejo, CA 92698



ACCT #:                                                                DATE INCURRED:   2013
                                                                       CONSIDERATION:
Fluor Limited                                                          Business Debt                                                         $22,113.00
140 Pinehurst Road                                                     REMARKS:
                                                      X
Farnborough GU14 7BF
United Kingdom

ACCT #:                                                                DATE INCURRED:   2013
                                                                       CONSIDERATION:
Fluor Limited                                                          Business Debt                                                         $38,310.06
140 Pinehurst Road                                                     REMARKS:
                                                      X
Farnborough GU14 7BF
United Kingdom

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Ford Harrison LLP                                                      Business Debt                                                          $3,500.00
1300 19th Street, NW                                                   REMARKS:
Suite 300
Washington, DC 20036

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
FTI Consulting, Inc.                                                   Business Debt                                                         $45,000.00
Attn. Matthew Bacsardi                                                 REMARKS:
2 Hamill Road, North Building
Baltimore, MD 21210

Sheet no. __________
              3        of __________
                               6     continuation sheets attached to                                                   Subtotal >            $432,830.51
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 18 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #:                                                                DATE INCURRED:   5/20015
                                                                       CONSIDERATION:
Greenfuel Technology, LLC                                              Business Debt                                                          $8,574.22
23020 Eaglewood Court                                                  REMARKS:
Suite 400
Sterling, VA 20166

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Honeywell Process Solutions                                            Business Debt                                                         $13,580.91
3079 Premier Pkway                                                     REMARKS:
Suite 100
Duluth, GA 30097

ACCT #: xxxxxx4057                                                     DATE INCURRED:
                                                                       CONSIDERATION:
LEIDOS                                                                 Business Debt                                                         $21,691.22
835 Kolding Avenue                                                     REMARKS:
Solang, CA 93463



ACCT #: 8843                                                           DATE INCURRED:
                                                                       CONSIDERATION:
MGA Consultants, Inc                                                   Business Debt                                                          $2,140.00
6031 University Blvd.                                                  REMARKS:
Suite 300
Ellicot City, MD 21043

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Norton Rose Fulbright LLC                                              Business Debt                                                        $341,431.00
3 More London Riverside                                                REMARKS:
                                                      X
London SE1 2AQ
UNITED KINGDOM

ACCT #: x3797                                                          DATE INCURRED:
                                                                       CONSIDERATION:
Novak Druce Connolly Bove & Quigg, LLP                                 Business Debt                                                         $12,259.47
1007 N. Orange Street                                                  REMARKS:
Ninth Floor
Wilimington, DE 19801

Sheet no. __________
              4        of __________
                               6     continuation sheets attached to                                                   Subtotal >            $399,676.82
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 19 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #: xx2203                                                         DATE INCURRED:   2014
                                                                       CONSIDERATION:
Patton Boggs                                                           Business Debt                                                          $8,592.63
2550 M Street, NW                                                      REMARKS:
Washington, DC 20057



ACCT #: 52                                                             DATE INCURRED:
                                                                       CONSIDERATION:
Phoenix Solutions Co.                                                  Business Debt                                                         $15,255.00
3327 Winpark Drive                                                     REMARKS:
Minneapolis, MN 55427



ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Procetech                                                              Business Debt                                                          $7,056.00
4 Chemin de l'Église,                                                  REMARKS:
78490 Bazoches-sur-Guyonne
FRANCE

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Reaction Engineering International                                     Business Debt                                                          $4,065.00
746 E. winchester Street                                               REMARKS:
Suite 120
Murray, UT 84107

ACCT #:                                                                DATE INCURRED:
                                                                       CONSIDERATION:
Seyforth Shaw LLP                                                      Business Debt                                                        $175,187.68
975 F Street NW                                                        REMARKS:
Washingtlon, DC 20004



ACCT #:                                                                DATE INCURRED:   2015
                                                                       CONSIDERATION:
TML Copiers                                                            Business Debt                                                           $686.32
9700 Capital Court, #201                                               REMARKS:
Manassas, VA 20110



Sheet no. __________
              5        of __________
                               6     continuation sheets attached to                                                   Subtotal >            $210,842.63
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                Case 15-24430                      Doc 1       Filed 10/16/15         Page 20 of 28
B6F (Official Form 6F) (12/07) - Cont.
  In re Solena Fuels Corporation                                                                   Case No.
                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                CREDITOR'S NAME,                                                      DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                        INCURRED AND                                         CLAIM




                                                                                                                            CONTINGENT
                                                       CODEBTOR




                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                             CLAIM.
             (See instructions above.)                                            IF CLAIM IS SUBJECT TO
                                                                                     SETOFF, SO STATE.


ACCT #:                                                                DATE INCURRED:   11/2014
                                                                       CONSIDERATION:
Velocys                                                                Business Debt                                                          $5,796.00
115e Olympic Avenue                                                    REMARKS:
Abingdon OX14 4SA
United Kingdom




Sheet no. __________
              6        of __________
                               6     continuation sheets attached to                                                   Subtotal >              $5,796.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >         $2,642,509.33
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                        Case 15-24430    Doc 1       Filed 10/16/15          Page 21 of 28
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Solena Fuels Corporation                                                             Case No.
                                                                                                                 (if known)



                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES
                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

   I, the                       President                             of the                     Corporation
named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
          13             sheets, and that they are true and correct to the best of my knowledge, information, and belief.
(Total shown on summary page plus 1.)

Date 10/16/2015                                                 Signature   /s/ Brian C. Miloski
                                                                           Brian C. Miloski
                                                                           President
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                               Case 15-24430           Doc 1     Filed 10/16/15           Page 22 of 28
                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MARYLAND
                                                 GREENBELT DIVISION
  IN RE:   Solena Fuels Corporation                                                     CASE NO

                                                                                       CHAPTER    7

                                             VERIFICATION OF MAILING LIST


       In accordance with Local Rule 1002, the above named Debtor hereby verifies that the attached list of creditors is
true and correct to the best of my knowledge. I also certify that the attached mailing list

   [ ] is the first mailing list filed in this case.

   [ ] adds entities not listed on previously filed mailing list(s).

   [ ] changes or corrects names and address on previously filed mailing lists.




Date 10/16/2015                                             Signature    /s/ Brian C. Miloski
                                                                        Brian C. Miloski
                                                                        President


Date                                                        Signature
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